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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORID A

                    Case No . 05-80807-Civ-COHN/SNOW

AIRTIME MANAGEMENT, INC .,


            Plaintiff,


            V.


TIME TECHNOLOGIES, INC ., and
                                                                          11 N
JOSEPH BEKANICH,                                          MA

            Defendants .       CLr .24 D S   I . Cl .
                                         FT. LAU D      S .D . OF FLA .




                                   ORDER

            THIS CAUSE is before the Court on the Plaintiff's Amende d

Omnibus Motion to Compel Discovery Responses Pursuant to Rule 37,

Fed .R .Civ .P . (Docket Entry 27), which was referred to United States

Magistrate Judge Lurana S . Snow . The plaintiff sought better

responses to interrogatories 3, 4, 5, 6, 7 and 8, and production of

all of the documents responsive to the requests for production .

            Thereafter the defendants produced 654 documents . Their

response to the motion to compel suggests that certain unidentified

categories of documents do not exist and thus cannot be produced .

They assert, without citation to legal authority, that the short

responses to the interrogatories were cured by the deposition of

defendant Bekanich, and that the motion to compel now is moot .

            The plaintiff's reply' contends that the production was

more than a month late . Mr . Bekanich failed to bring the requeste d



     ' The reply was filed electronically, and refers to sealed
exhibits which were not filed with the Court in the manner required
by Local Rule 5 .4 .
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documents to his January 30, 2006, deposition . He did not produc e

any documents until February 8, thus precluding deposition

questions based on the documents . The defendants did not produce

any documents in response to requests numbered 2-29 and 31-62 .

Their response to the motion to compel does not attempt to support

their objections to production . The plaintiff asks the Court to

order supplemental responses to the interrogatories, document

production for requests 2-29, 31-62 and a supplemental full-day

deposition of Mr . Bekanich after the documents have been produced .

              The Court finds that the deposition of Mr . Bekanich,

individually, does not cure the deficiencies of the interrogatory

responses by Time Technologies, Inc ., and is not a substitute for

proper interrogatory responses by Mr . Bekanich individually .

Guadagno v . Wallack Ader Levithan Assocs . , 950 F .Supp . 1258, 1261

 (S .D .N .Y . 1997),   aff'd , 125 F .3d 844 (2d Cir . 1997),   cert . denied ,

118 S .Ct . 1066 (1998)       . Accordingly, supplemental responses to

the interrogatories must be served . Nor have the defendants made

any attempt to support their various objections to requests for

production . Since the plaintiff has already deposed Mr . Bekanich

once, the Court will not require a supplemental full-day's worth of

testimony once all of the documents have been produced . With the

Court being advised, it is hereb y

             ORDERED AND ADJUDGED that the motion is GRANTED a s

follows :



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            1 . The defendants shall, within ten days of the date

                  of this Order, serve supplemental responses to

                  interrogatories numbered 3 through 8 .

            2 . The defendants shall, within ten days of the date

                  of this Order, produce documents responsive to

                  requests numbered 2-29 and 31-62 .

            3 . Defendant Joseph Bekanich shall be available, on

                  three days' notice, for a four-hour deposition

                  within ten days after the supplemental document

                  production .

            4 . The request for sanctions is DENIED .                                The

                  defendants are on notice that failure to comply

                  with this Order may result in the imposition of

                  sanctions .                                                    s

            DONE AND ORDERED at Fort Lauderdale, Florida, thi

day of March, 2006 .

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                                          LURANA S . SNO W
                                    UNITED STATES MAGISTRATE JUDG E
Copies to :
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